
Gray, J.
In this case the claim of the plaintiff to recover the possession of land formerly embraced in the Bloomingdale road, and between Ninety-second and Ninety-third streets, in the city of New York, depends upon the construction to be given to the descriptive words in two grants of land; one made by Charles Apthorp and others to Oliver Vanderbilt, in 1799, and the other made by the same grantors to William and Mary Jauncey in 1800.
In the deed to Vanderbilt the description is as follows, viz.: “ Beginning at a corner on the westerly side of the Bloomingdale road at the northern side of the private road leading to Hudson’s river, and running thence along the west side of Bloomingdale road aforesaid north thirty-five degrees east, three chains sixty links; thence along the same north thirty-two degrees east, five chains forty-two links, to a lane on the south side of Mr. Clarkson’s land; thence north thirty-five degrees west, twenty-three chains forty links, to the Hudson’s river; thence southwesterly along the said course eight chains fifty links to the land sold to Mr. Shaw; thence south fifty-three degrees east, one chain thirty links, to the private road leading to the Hudson’s river; thence along the same north thirty-five degrees east, forty links, being the width of said road; thence south fifty-three degrees east, twenty chains seventy-three links, to the place of beginning, containing nineteen acres, one rood, fifteen poles, according to a map annexed.”
In the Jaunceys’ deed, the description is as follows, viz.: ■“ Beginning at the corner of a field at the junction of the Bloomingdale road with a cross-road that leads to Harlem, thence running along the Bloomingdale road south thirty-five degrees west, seven chains fifty links; thence south thirty-seven degrees west, ten chains thirty-two links; thence south fifty-four degrees east, along William Constable’s and Robert L. Bowne’s land, nineteen chains eighteen links ; thence north fifty-four degrees east, nine chains fifty-five links ; thence south fifty-three degrees east, three chains seventeen links; thence north thirty-six degrees east, eight chains . ninety-two links ; thence north fifty-three degrees west, twenty-six chains, to the beginning, containing forty-two acres and five perches, according to a map made by Benjamin Taylor, one of the city surveyors of the city and county of New York, and hereto annexed, and also,” etc.
Unquestionably, in the Vanderbilt deed the terms of the description are sufficiently explicit to exclude the roadbed from the grant. As to the Jaunceys’ deed, what we have said in Holloway v. Delano, Action No. 1, applies here; inasmuch as the starting point is similarly described.
Bor the reasons expressed in the case of this same plaintiff against Southmayd and others, the order appealed from should be affirm*689ed, and, under the stipulation, judgment absolute should be ordered against the appellant, with costs.
Order affirmed, and judgment accordingly.
All concur, 'except Earl, Finch and O’Brien, JJ., dissenting.
